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7
     Attorney of Record for Plaintiff,
8    Misael Romero
9
                           UNITED STATES DISTRICT COURT
10

11                        CENTRAL DISTRICT OF CALIFORNIA
12

13   Misael Romero,                                  Case No.:
14
                                                     5:21−cv−00892−JWH (KKx)

15                   Plaintiff,                      NOTICE OF SETTLEMENT
16

17
                     v.
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19
     JB New Feed Store, Inc., et al.
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                     Defendants.
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                                       NOTICE OF SETTLEMENT
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1
           TO THE HONORABLE UNITED STATES DISTRICT COURT AND

2    TO THE CLERK OF THE COURT:
3
           In accordance with Local Rule 16-15.7, Plaintiff hereby submits this
4
     Notice of Settlement to notify the Court that the lawsuit has been settled in
5
     its entirety as to all parties and all causes of action.
6

7
     Respectfully submitted,
8
     Dated: July 07, 2021     LAW OFFICES OF ROSS CORNELL, APC
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11
                                     By: /s/ Ross Cornell
                                         Ross Cornell, Esq.,
12                                       Attorneys for Plaintiff,
13                                       Misael Romero
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                                    NOTICE OF SETTLEMENT
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